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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HILDA SPENCER, individually and on )
behalf of CHASTITY SPENCER, her minor
daughter

 

Plaintiffs,
)
v_ _;UDGE HIBBLER
)
cITY oF CHICAGO cHIcAGO POLICE ) K
OFFICERS FREDERICK LANE and THOMAS BOBRKJ
DERSON, and PARKWAY GARDENS, MG!STRA'&EJUDGE '
mwn€&n 4/”4”“"‘9V“B‘WFC;W“7, LC- ) d é§
Defendants. ) §§ wl -n
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coMPLAINT :F

Now cOME Plaintiffs, HILDA sPENcER, individually and on
behalf of CHASTITY SPENCER, her minor daughter, by their
attorneys, LOEVY & LOEVY, and complaining of Defendants, CITY OF

CHICAGO and CHICAGO POLICE OFFICERS FREDERICK LANE and THOMAS

ANDERSON`(collectively, “Defendant Officers"), as well as
AMERICAN APARTMENT MANAGEMENT COMPANY, INC., stateS as fOllOWS:
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Introduction '“%W@@
l. This action is brought pursuant to 42 U.S.C. g%z;£fa&%w
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Section 1983 to redress the deprivation under color of law of
Plaintiffs’ rights as secured by the United States Constitution.
Jurisdiction and Venue

2. This Court has jurisdiction of the action pursuant
to 28 U.S.C. § 1331.

3. Venue is proper under 28 U.S.C. §_l39l(b). On
information and belief, all or most of the parties reside in this
judicial district, and the events giving rise to the c ims///

asserted herein all occurred within district.

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Background

4. In September 1999, Plaintiff Hilda Spencer and her
minor daughter, Chastity Spencer, lived in an apartment complex
known as Parkway Gardens at 6428 South King Drive.

5. Parkway Gardens is managed, owned, controlled and
operated by American Apartment Management Company, Inc. {"AAMC").
Among other things, AAMC is responsible for hiring security
officers, two of whom are Defendants Frederick Lane and Thomas
Anderson. Defendants Lane and Anderson are also full-time
Chicago Police Officers.

6. On or around September 26, 1999, at approximately
4:30 p.m., Spencer and her minor daughter Chastity were standing
outside their apartment building waiting for a ride when
Defendant Officer Frederick Lane ordered the Spencers to stop
loitering and to leave the area.

7. An argument ensued and insults were exchanged.
Hilda Spencer pointed out to Officer Lane that he allowed
neighborhood drug dealers to "loiter“ on the corner for extended
periods of time without arresting them, and she accused him of
taking payoffs related to the same. Officer Lane called Hilda
Spencer a "big ass liar."

8. Officer Lane then conferred with Officer Thomas
Anderson, while Plaintiffs left the area and re-entered their
building. l

9. The Defendant officers followed Plaintiffs into
the hallway, informing Hilda Spencer that they wanted to speak to

her. Hilda Spencer said "no," or words to that effect.

 

10. After Hilda Spencer opened a door to let Chastity
enter, one of the Defendant officers took his foot and blocked
the door, preventing Hilda from going through.

ll. Officer Lane then called Hilda a "bitch," and told
her he was going to teach her a lesson for helping a neighbor
file a "C.R." (citizen's complaint) against him with his
employer, the Chicago Police Department.

12. Officer Lane then deliberately put both of his
hands on Hilda Spencer’s breasts and pushed her into the wall,
causing her head to strike the wall.

13. During the act of violence described in the
previous paragraph, Officer Anderson blocked the door to prevent
Hilda Spencer from getting away from Officer Lane, and to prevent
others from entering the hall area.

14. Officer Lane then grabbed Hilda Spencer’s arms
while the latter screamed for someone to help her. Officer Lane
then threw Spencer into the wall and onto the ground, whereupon
he put his knee in her back. During this time, Officer Anderson
‘continued to block the door so no one could enter or leave the
hall area.

15. To try to prevent further beating, Hilda Spencer
then told the Defendant Officers she was pregnant; Officer Lane
responded with words to the effect of: "Bitch, you are not
pregnant.“ Hilda Spencer told Officer Lane she had asthma;
Officer Lane responded with words to the effect of: "So do I, die

Bitch."

 

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16. officer Lane proceeded to kick Spencer in her
side, causing her additional pain and suffering, and he then
lifted her up by her hat and hair.

17. Chastity (and others) witnessed the beating
through the glass in the door. When Officer Anderson finally
moved from the door, Chastity came through the door into the hall
area, whereupon Officer Anderson physically pushed her without
legal justification.

18. When a neighbor (who had entered the area)
informed the Defendant Officers that they had no right to abuse
Plaintiffs, Officer Anderson pulled his gun and told the neighbor
he was going to kill him.

19. Officer Lane then told Hilda Spencer that while
Officer Anderson was killing the neighbor, Officer Lane was going
to kill Hilda Spencer.

20. Chastity left and called the Chicago Police
Department from a nearby apartment.

21. Officer Anderson subsequently entered Spencer's
apartment without a warrant, and without permission.

22. When additional Chicago Police Officers
subsequently arrived on the scene, Officer Lane instructed them
to arrest Hilda Spencer for resisting arrest. Spencer was
handcuffed, taken to the police station, and charged with
disorderly conduct.

23. All charges against Hilda Spencer arising out of
the incident were eventually dropped and/or resolved in a manner

indicative of Spencer's innocence.

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24. At all times relevant to this Complaint, Officers
Lane and Anderson acted under color of law, to wit: 7

a. The Defendant officers frequently display
their Chicago Police badges at Parkway Gardens and otherwise
frequently identify themselves as Chicago Police Officers;
at times, at least one of the Defendant officers wears his
Chicago Police Officer uniform on duty at Parkway Gardens.

b. The Defendant Officers carry their Chicago
Police Department firearms while on duty at Parkway Gardens.

c. During the complained-of encounter, the
Defendant Officers detained Plaintiff pursuant to their authority
as Chicago Police Officers, telling Plaintiff words to the effect
of "you are under arrest and you are going to jail."

d; When other Chicago Police Officers arrived,
the Defendant Officers, acting in their capacity as Chicago
Police Officers, assisted in arresting, transporting, and
charging Plaintiff. This was pursuant to their express authority
as Chicago Police Officers to assist in arresting individuals
leven when off duty,

COUNT I - 42 U.S.C. § 1983: Excessive Force

25. Plaintiffs reallege each of paragraphs 1-24 as if
fully stated herein.

26. As described in the preceding paragraphs, the
_conduct of the Defendants, acting under color of law, constituted

excessive force in violation of the United States Constitution.

 

27. As a result of the Defendant Officers' unjustified

and excessive use of force, Plaintiffs have suffered pain and
injury, as well as emotional distress.

28. As a result of Officer Anderson’s failure to
intervene to prevent Officer Lane's unjustified and excessive use
of force, Plaintiff Hilda Spencer has suffered pain and injury,
as well as emotional distress. Officer Anderson had a reasonable
opportunity to prevent the harm had he been so inclined, but did
not do so. At a minimum, Officer Anderson could have called for
backup help, or at least cautioned his partner to stop abusing
Plaintiff Hilda Spencer.

29. The misconduct described in this Count was
objectively unreasonable and was undertaken intentionally with
wilful indifference to Plaintiffs’ constitutional rights.

30. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

31. The misconduct described in this Count was
undertaken pursuant to the policy and practice of the Chicago'
Police Department in that:

a. As a matter of both policy and practice, the
Chicago Police Department directly encourages, and is thereby the
moving force behind, the very type of misconduct at issue here by
failing to adequately train, supervise and control its officers,
such that its failure to do so manifests deliberate indifference;

b. As a matter of both policy and practice, the

Chicago Police Department facilitates the very type of misconduct

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at issue here by failing to adequately punish and discipline
prior instances of similar misconduct, thereby leading Chicago
Police Officers to believe their actions will never be
scrutinized and, in that way, directly encouraging future abuses
such as those affecting Plaintiff;

c. Generally, as a matter of widespread practice
so prevalent as to comprise municipal policy, officers of the
Chicago Police Department abuse citizens in a manner similar to
that alleged by Plaintiff in this Count on a frequent basis, yet
the Chicago Police Department makes findings of wrongdoing in a
disproportionately small number of cases;

d. Municipal policy~makers are aware of (and

“condone and facilitate by their inaction) a “code of silence" in
the Chicago Police Department, by which officers fail to report
misconduct committed by other officers, such as the misconduct at
issue in this case; and

e. The City of Chicago has failed to act to
remedy the patterns of abuse describe in the preceding sub-
paragraphs, despite actual knowledge of the same, thereby causing
the types of injuries alleged here.

WHEREFORE, Plaintiffs, HILDA and CHAS'I'ITY SPENCER,
respectfully requests that the Court enter judgment in their
favor and against Defendants, CITY OF CHICAGO, OFFICER LANE and
OFFICER ANDERSON, awarding compensatory damages and attorneys’
fees, along with punitive damages against OFFICER LANE and
OFFICER ANDERSON in their individual capacities, and any other

relief this Court deems just and appropriate.

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COUNT II a State Law Claim; Battery

32. Plaintiffs reallege each of paragraphs 1-31 as if
fully stated herein.

33. As described more fully in the preceding
paragraphs, Plaintiffs were physically abused by the Defendant
Officers without justification or provocation.

34. The actions of the Defendant Officers constituted
offensive physical contact, undertaken willfully and wantonly,
proximately causing Plaintiffs’ bodily injuries.

35. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference.to
the rights of others.

WHEREF`ORE, Plaintiffs, HILDA and CHASTITY SPENCER,
respectfully request that the Court enter judgment in their favor
and against Defendants, OFFICERS LANE and ANDERSON, awarding
compensatory damages and punitive damages, as well as any other
relief this Court deems just and appropriate under the
circumstances.

COUNT III - 42 U.S.C. § 1983: False Arrest/Unlawful Seizure

36. Plaintiffs reallege paragraphs l through 35 as if
fully stated herein.

37. Plaintiff Hilda Spencer was improperly seized and
arrested without probable cause in violation of her
constitutional rights, to wit, judicial proceedings were
subsequently instituted and continued maliciously, resulting in
injury, and all such proceedings were terminated in Plaintiff’s

favor in a manner indicative of innocence.

 

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38. Defendant Officers falsely arrested and seized
Plaintiff Hilda Spencer, or falsely caused her to be arrested and
seized, accusing her of certain crimes knowing those accusations
to be without probable cause, and making statements to
prosecutors with the intent of exerting influence to institute
and continue judicial proceedings.

39. Defendant Officers' statements to the prosecutors
were made with knowledge that they were false and perjured. In
so doing, Defendants fabricated evidence and withheld exculpatory
information.

40. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

41. As a result of the above-described wrongful
infringement of Plaintiff Hilda Spencer’s rights, Plaintiff has
suffered damages, including but not limited to substantial mental
stress and anguish.

42. The misconduct described in this Count was
undertaken pursuant to the policy and practice of the Chicago
Police Department in that:

a. As a matter of both policy and practice, the
Chicago Police Department directly encourages, and is thereby the
moving force behind, the very type of misconduct at issue here by
failing to adequately train, supervise and control its officers,
such that its failure to do so manifests deliberate indifference;

b. As a matter of both policy and practice, the

Chicago Police Department facilitates the very type of misconduct

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at issue here by failing to adequately punish and discipline
prior instances of similar misconduct, thereby leading Chicago
Police Officers to believe their actions will never be
scrutinized and, in that way, directly encouraging future abuses
such as those affecting Plaintiff;

c. Generally, as a matter of widespread practice
so prevalent as to comprise municipal policy, officers of the
Chicago Police Department abuse citizens in a manner similar to
that alleged by Plaintiff in this Count on a frequent basis, yet
the Chicago Police Department makes findings of wrongdoing in a
disproportionately small number of cases;

d. Municipal policy-makers are aware of (and
condone and facilitate by their inaction) a “code of silence‘l in
the Chicago Police Department, by which officers fail to report
misconduct committed by other officers, such as the misconduct at
issue in this case; and

e. The City of Chicago has failed to act to
remedy the patterns of abuse describe in the preceding sub-
paragraphs, despite actual knowledge of the same, thereby causing
the types of injuries alleged here.

WHEREFORE, Plaintiffs, HILDA SPENCER, respectfully
requests that the Court enter judgment in her favor and against
Defendants, CITY OF CHICAGO, OFFICER LANE and OFFICER ANDERSON,
awarding compensatory damages and attorneys’ fees, along with
punitive damages against OFFICER LANE.and OFFICER ANDERSON in
their individual capacities, and any other relief this Court

deems just and appropriate.

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COUNT IV - State Law Claim: False Imprisonment

43. Plaintiffs reallege paragraphs l through 42 as if
fully stated herein.

44. Plaintiff Hilda Spencer was arrested and placed
into a police car despite the Defendant Officers' knowledge that
there was no probable cause for doing so.

45. ln the manner described in the preceding
paragraph, Defendants unlawfully restrained Plaintiff Hilda
Spencer's liberty to move about by imprisoning her.

46. As a result of this misconduct, Plaintiff has
suffered and continues to suffer injuries including pain and
suffering.

47. Defendants' actions set forth above were
undertaken intentionally, with malice and reckless indifference
to Plaintiff's rights.

WHEREFORE, Plaintiff, HILDA SPENCER, respectfully
requests that the Court enter judgment in her favor and against
Defendants, OFFICERS LANE and ANDERSON, awarding compensatory
damages and punitive damages, as well as any other relief this
Court deems just and appropriate under the circumstances.

COUNT V ~ State Law Claim: Malicious Prosecution

48. Plaintiffs reallege each of paragraphs 1-47 as if
fully stated herein.

49. Plaintiff Hilda Spencer was improperly subjected
to judicial proceedings for which there was no probable cause.
These judicial proceedings were instituted and continued

maliciouslyy resulting in injury, and all such proceedings were

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terminated in Plaintiff’s favor in a manner indicative of
innocence.

50. Defendant Officers Lane and Anderson accused
Plaintiff of criminal activity knowing those accusations to be
without probable cause, and they made statements to prosecutors
with the intent of exerting influence to institute and continue
judicial proceedings.

51. Statements of Officers Lane and Anderson regarding
Plaintiff's alleged culpability were made with knowledge that the
statements were false and perjured. In so doing, Defendants
fabricated evidence and withheld exculpatory information.

52. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

53. As a result of the above-described wrongful
infringement of Plaintiff Hilda Spencer's rights, she has
suffered financial and other damages, including but not limited
to substantial mental stress and anguish.

WHEREFORE, Plaintiff, HILDA SPENCER, respectfully
requests that the Court enter judgment in her favor and against
Defendants, OFFICERS LANE and ANDERSON, awarding compensatory
damages and punitive damages, as well as any other relief this
Court deems just and appropriate under the circumstances.

COUNT VI - 42 U.S.C. § 1983: Unlawful Search

54. Plaintiffs reallege each of paragraphs 1-53 as if

fully stated herein.

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55. In the manner described above, Defendant Officer
Anderson entered Plaintiffs’ apartment without permission,
without a warrant, and without probable cause, thereby violating
the United States Constitution.

56. The misconduct described in this Count resulted in
injury by violating Plaintiffs' privacy and by interfering with
their legitimate expectation to be free from unconstitutional
searches in their home.

57. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

WHEREFORE, Plaintiffs, HILDA and CHASTITY SPENCER,
respectfully request that the Court enter judgment in their favor
and against Defendants, OFFICERS LANE and ANDERSON, awarding
compensatory damages and punitive damages, as well as any other
relief this Court deems just and appropriate under the
circumstances.

COUNT VII - 42 U.S.C. § 1983: First Amendment

58. Plaintiffs reallege each of paragraphs 1-57 as if
fully stated herein.

59. The First Amendment to the United States
Constitution guarantees Plaintiffs' rights to speak out on
matters of public concern without fear of unjust retaliation.

60. As more fully in the preceding paragraphs,
Plaintiff Hilda Spencer engaged in extensive protected speech on

matters of public concern, to wit, she assisted in the filing of

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a complaint against the Defendant Officers with the Chicago
Police Department.

61. In direct retaliation for their exercise of
protected speech, Defendants retaliated against Plaintiffs in the
manner described in the preceding paragraphs, resulting in bodily
damages.

62. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

WHEREFORE, Plaintiffs, HILDA SPENCER, respectfully
requests that the Court enter judgment in her favor and against
Defendant OFFICERS LANE and ANDERSON, awarding compensatory
damages and attorneys' fees, along with punitive damages against
OFFICER LANE and OFFICER ANDERSON in their individual capacities,
and any other relief this Court deems just and appropriate.

COUNT VIII State Law Claim: Respondeat Superior

63. Plaintiffs reallege each of paragraphs 1-62 as if
fully stated herein.

n 64. In committing the acts alleged in the preceding
paragraphs, Defendant Officers Lane and Anderson were members of,
and agents of, the Chicago Police Department acting at all
relevant times within the scope of their employment.

65. Defendant City of Chicago is liable as principal
for all torts committed by its agents.

WHEREFORE, Plaintiffs, HILDA and CHASTITY SPENCER,
respectfully requests that the Court enter judgment in their

favor and against Defendant, CITY OF CHICAGO, in an amount equal

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to any award against the DEFENDANT OFFICERS LANE and ANDERSON, as
well as any other relief this Court deems just and appropriate
under the circumstances.

COUNT IX - State Law Claim: Indemnification

66. Plaintiff realleges each of paragraphs 1-65 as if
fully stated herein.

l 67. lllinois law, 735 ILCS 10/9-102, provides that
public entities are directed to pay any tort judgment for
compensatory damages for which employees are liable within the
scope of their employment activities.

68. Defendant Officers Lane and Anderson are or were
employees of the Chicago Police Department, who acted within the
scope of their employment in committing the misconduct described
herein.

WHEREFORE, Plaintiffs, HILDA and CHASTITY SPENCER,
respectfully request that the Court enter judgment in their favor
and against Defendant CITY OF CHICAGO in the amounts awarded to
Plaintiffs against Defendants OFFICERS LANE and ANDERSON, as
compensatory damages, attorneys’ fees, punitive damages, and any
other relief this Court deems just and appropriate under the
circumstances.

COUNT X - State Law Claim: Negligent Retention

69. Plaintiff realleges each of paragraphs 1-68 as if
fully stated herein.

70. At all times relevant hereto, Defendant AAMC knew

or should have known of the propensity for Defendant Officers

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Lane and Anderson to engage in unnecessarily violent and
otherwise illegal acts vis-a-vis residents of Parkway Gardens.

71. AAMC knew or should have known about this problem
by means of, inter alia, prior complaints from Parkway Gardens
residents.

72. Despite its duty to do so, AAMC did not exercise
reasonable care and caution in the retention and supervision of
Defendant Officers Lane and Anderson.

73. As a direct and proximate result of AAMC’s
negligent retention and supervision of Defendant Officers Lane
and Anderson, Plaintiffs have suffered damages, including
physical injuries, pain and suffering, and emotional distress.

JURY DEMAND

Plaintiffs, HILDA and CHASTIITY SPENCER, hereby demand

a trial by jury pursuant to Federal Rule of Civil Procedure 38(b)

on all issues so triable.

RESPECTFULLY SUBMITTED,

Arthur Loevy

Jon Loevy

Danielle Loevy

LOEVY & LOEVY

434 West Ontario, Ste. 400
chicago, IL 60610

 

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